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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                           )
In re:                                                     ) Chapter 11
                                                           )
AMERIFIRST FINANCIAL, INC., et al.,1                       ) Case No. 23-11240 (TMH)
                                                           )
                                    Debtors.               ) (Joint Administration Requested)
                                                           )

          MOTION OF THE DEBTORS FOR INTERIM AND FINAL ORDERS (I)
     AUTHORIZING DEBTORS (A) TO OBTAIN POSTPETITION FINANCING AND (B)
    TO UTILIZE CASH COLLATERAL, (II) GRANTING ADEQUATE PROTECTION TO
        PREPETITION LENDERS, (III) MODIFYING THE AUTOMATIC STAY, (IV)
       SCHEDULING A FINAL HEARING, AND (V) GRANTING RELATED RELIEF

          AmeriFirst Financial, Inc. (“AmeriFirst”) and Phoenix 1040, LLC (“Phoenix”), as debtors

and debtors in possession (collectively, the “Debtors”), in these chapter 11 cases (the “Chapter 11

Cases”), hereby file this postpetition financing motion (this “Motion”) requesting entry of an

interim order (this “Interim Order”) and a final order (the “Final Order”) as set forth below

pursuant to sections 105(a), 363, and 364 of chapter 11 of title 11 of the United States Code,

11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”), Rule 4001 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and Rule 4001-2 of the Local Bankruptcy Rules of

Bankruptcy Practice and Procedure for the United States Bankruptcy Court for the District of

Delaware (as amended, the “Local Bankruptcy Rules”). In support of this Motion, the Debtors

submit the Declaration of T. Scott Avila in Support of First Day Motions (the “First Day

Declaration”),2 filed concurrently herewith and incorporated herein by reference. In further

support of this Motion, the Debtors respectfully represent as follows:



1
     The Debtors and the last four digits of their respective taxpayer identification numbers include: Phoenix 1040
     LLC (2550) and AmeriFirst Financial, Inc. (4557). The Debtors’ service address is 1550 McKelleps Road, Suite
     117, Mesa, AZ 85203.
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     Capitalized terms used but not defined herein shall have the meanings set forth in the First Day Declaration.


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                               I. SUMMARY OF RELIEF REQUESTED

                  1.         The Debtors seek entry of the Interim Order, substantially in the form

attached hereto as Exhibit 1, and the Final Order to be submitted at a later date (respectively, the

“Interim Order” and “Final Order” and collectively, the “DIP Orders”):

         (1)      authorizing AmeriFirst to obtain postpetition financing from RCP Credit

Opportunities Fund Loan SPV (Fund III), L.P. and RCP Customized Credit Fund (Fund IV-A),

L.P. (“DIP Lenders”), consisting of a senior secured, superpriority term loan facility in the

principal amount of up to $5,000,000 (the “DIP Loans”) to be used for general liquidity purposes,

including the payment of administrative expenses and estate professional fees, as described herein

and in that certain Binding DIP Term Sheet, dated August 28, , 2023, by and among the DIP

Lenders, as lenders, RCP Credit Opportunities Fund Loan SPV (Fund III), L.P., as agent (the “DIP

Agent”), and AmeriFirst, as borrower (substantially in the form attached hereto as Exhibit A, as

any time amended, the “DIP Term Sheet”), of which amount $2,775,000 will be available on an

interim basis (the “Interim Amount Limit”) during the Interim Period (as defined below), on the

terms and conditions set forth in the DIP Term Sheet and this Interim Order;

         (2)      authorizing AmeriFirst to execute and enter into the DIP Term Sheet and to perform

all such other and further acts as may be required in connection with the DIP Term Sheet;

         (3)      authorizing AmeriFirst to use proceeds of the DIP Loans solely as expressly

permitted in the DIP Term Sheet and in accordance with this Interim Order;

         (4)      pursuant to Bankruptcy Code section 364, granting the DIP Agent for the benefit

of the DIP Lenders security interests and liens as set forth in the DIP Term Sheet and this Interim

Order and allowed superpriority administrative expense claims against AmeriFirst for the amounts

advanced under the DIP Loans;



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         (5)      authorizing AmeriFirst to pay the principal, interest, fees, expenses, disbursements,

and other amounts payable under the DIP Term Sheet as such amounts become due and payable;

         (6)      granting adequate protection to the Prepetition Lenders (as defined below) as set

forth in the DIP Term Sheet and this Interim Order;

         (7)      scheduling a final hearing (the “Final Hearing”) to consider entry of the Final

Order, and in connection therewith, giving and prescribing the manner of notice of the Final

Hearing on the Motion; and

         (8)      granting the Debtors such other and further relief as is just and proper.

                                    II. JURISDICTION AND VENUE

                  2.         The Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

§§ 157 and 1334, and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated February 29, 2012. This is a core proceeding pursuant

to 28 U.S.C. § 157(b). Pursuant to Rule 9013–1(f) of the Local Bankruptcy Rules, the Debtors

consent to the entry of a Final order by the Court in connection with this matter to the extent that

it is later determined that the Court, absent consent of the parties, cannot enter Final orders or

judgments consistent with Article III of the United States Constitution.

                  3.         Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                  4.         The statutory basis for the relief requested herein are sections 105, 361, 362,

363, 364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1), 507 and 552 of Title 11 of the Bankruptcy Code,

Bankruptcy Rules 2002, 4001, 6003, 6004 and 9013, and Local Bankruptcy Rules 4001-2, 9006-

1, and 9013.




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                                           III. BACKGROUND

A.       General Background

                  5.         On August 24, 2023 (the “Petition Date”), the Debtors filed voluntary

petitions for relief under chapter 11 of the Bankruptcy Code. The Debtors continue to manage and

operate their business as debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. As of the date of this Motion, no official committee, trustee or examiner has

been appointed in these chapter 11 cases (the “Chapter 11 Cases”).

                  6.         Background information regarding the Debtors’ business, organizational

structure, and description of the events precipitating the filing of the Chapter 11 Cases is set forth

in the First Day Declaration.

B.       Prepetition Secured Debt

                  7.         Pursuant to, inter alia, (i) that certain Amended and Restated Credit and

Security Agreement, dated as of May 15, 2023 the “Prepetition Credit Agreement”), among

AmeriFirst , as borrower, and RCP Credit Opportunities Fund Loan SPV (Fund III), L.P. and RCP

Customized Credit Fund (Fund IVA), L.P. (each, a “Prepetition Lender” and collectively, the

“Prepetition Lenders”), and RCP Credit Opportunities Fund Loan SPV (Fund III), L.P. as

administrative agent (the “Prepetition Agent”, and with the Prepetition Lenders, the “Prepetition

Secured Parties”), and (ii) the certain Limited Waiver and Second Amendment to Credit and

Security Agreement, dated as of May 15, 2023 (the “Second Amendment”), the Prepetition Secured

Parties provided certain prepetition term loans and other financial accommodations to AmeriFirst.

                  8.         Pursuant to the that certain Settlement Agreement, dated as of May 15, 2023

(the “Settlement Agreement”), in consideration for the execution of the Prepetition Credit

Agreement, the Second Amendment, and a restatement of the “bad boy” guaranty of Eric Bowlby



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(the “Guarantor”), AmeriFirst’s former Chief Executive Officer and then majority shareholder, in

favor of the Prepetition Secured Parties, the Prepetition Secured Parties, AmeriFirst, and Guarantor

entered into certain mutual releases, including the release of all Existing Defaults (as defined in

the Settlement Agreement), subject to the terms and conditions set forth therein.

                  9.         As of the Petition Date, the aggregate principal amount outstanding under

the Prepetition Credit Agreement is at least $15,798,087 (plus accrued and unpaid interest,

additional fees, costs, expenses, and other obligations as provided under the Prepetition Credit

Agreement) (the “Prepetition Obligations”).

                  10.        In connection with the Prepetition Credit Agreement, the shareholders of

AmeriFirst, Eric Bowlby and Kenneth Bowlby, entered into that certain Pledge Agreement, dated

as of May 15, 2023 (the “Pledge Agreement”) with the Prepetition Secured Parties, which granted

liens on and security interests in the 100% of the common equity stock of AmeriFirst (the “Pledged

Shares”) in favor of the Prepetition Agent, AmeriFirst entered into that certain Security Agreement,

dated as of May 15, 2023, with the Prepetition Secured Parties (the “Security Agreement”), which

granted a first priority lien on and security interest in substantially all of the personal property of

AmeriFirst to the Prepetition Agent, subject to certain permitted liens, together with mortgages on

certain real property of AmeriFirst scheduled pursuant to the Prepetition Credit

Agreement. Pursuant to the Prepetition Credit Agreement and the Security Agreement, the

Prepetition Secured Parties assert that the Prepetition Obligations are secured by valid, binding,

perfected first priority security interests and liens (the “Prepetition Liens”) in and on the

“Collateral,” as defined in the Prepetition Credit Agreement and Security Agreements (the

“Prepetition Collateral”).




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                  11.        Pursuant to the Second Amendment, AmeriFirst agreed to issue 40,000

shares of preferred shares, with an aggregate liquidation value of $4 million, to the Prepetition

Lenders, at the closing of the Prepetition Credit Agreement.

                  12.        On August 24, 2023, following various events of default under the

Prepetition Credit Agreement and prior to the commencement of these Chapter 11 Cases, the

Prepetition Agent gave a Notice of Events of Default under the Prepetition Credit Agreement and

declared that the Obligations of AmeriFirst under the Prepetition Credit Agreement were

immediately due and payable. The Prepetition Agent thereafter exercised its rights under the

Pledge Agreement, including transferring the Pledged Stock and assigning the Prepetition Agent’s

rights under the Pledge Agreement to Phoenix. Pursuant to the Pledge Agreement, the certificates

for the Pledged Shares were then canceled and a new stock certificate issued to Phoenix. Phoenix

as the sole shareholder of AmeriFirst, then executed a Unanimous Written Consent as the sole

shareholder of AmeriFirst (the “Phoenix Consent”). The Phoenix Consent (a) removed the former

directors of AmeriFirst; and (b) elected two new directors (including an independent director) to

AmeriFirst’s board of directors. Finally, also on August 24, 2023, the new reconstituted board of

AmeriFirst executed a separate unanimous consent removing all former officers of AmeriFirst and

electing new officers.

                  13.        The Prepetition Lenders assert that all of the Debtors’ cash, including but

not limited to the amounts on deposit or maintained in any account or accounts by the Debtors or

any amounts generated postpetition, constitutes the Prepetition Lenders’ cash collateral within the

meaning of section 363(a) of the Bankruptcy Code (the “Cash Collateral”).




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                                  IV. PROPOSED DIP TERM SHEET

                  14.        Subject to Court approval, the DIP Lenders have agreed to provide DIP

Loans to the Debtors in an amount up to $5 million (subject to any limitations on borrowing under

the DIP Term Sheet), of which $2.775 million will be available upon entry of the Interim Order.

The Debtors require an immediate infusion of new money in order to maintain operations, pay

employees, and satisfy accruing administrative expenses, including estate professional fees. The

Debtors do not have adequate funding based on access to Cash Collateral alone. Without the

proposed DIP Loans, the Debtors would suffer immediate and irreparable harm and would be

forced to terminate operations, layoff all employees, and convert these cases to Chapter 7.

                  15.        As set forth in the First Day Declaration, the Debtors’ only source of

funding for these Chapter 11 Cases are the existing Prepetition Lenders. The proposed DIP Loans

and authorization to use Cash Collateral, as offered by the DIP Lenders and the Prepetition

Lenders, are the best and only financing options currently available to these estates. Fully

unsecured postpetition financing was not available to the Debtors. Other potential sources of

debtor in possession financing for the Debtors, including but not limited to funding on a junior

secured basis, are also nonexistent.

A.       Summary of Essential Terms of DIP Term Sheet

                  16.        In accordance with Bankruptcy Rule 4001(b) and Local Bankruptcy Rule

4001-2(a)(i)-(iii), the chart below reflects the essential terms of the proposed financing and use of

cash collateral as set forth in the DIP Term Sheet and incorporated in the proposed DIP Orders.

The DIP Term Sheet is copied essentially verbatim below:




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Borrowers:                     AmeriFirst Financial, Inc. as debtor-in-possession (the “Debtor”)
DIP Credit Facility:           Maximum available on entry of the Interim Order: $2,775,000
                               Maximum available upon entry of the Final Order: $5,000,000

                               The DIP Credit Facility is a senior secured, superpriority term loan facility.

                               Amounts repaid under the DIP Credit Facility may be reborrowed consistent with the
                               Approved Budget.
DIP Lenders:                   RCP Credit Opportunities Fund Loan SPV (Fund III), L.P., RCP Customized Credit
                               Fund (Fund IV-A), L.P. (“DIP Lenders”)
Agent:                         RCP Credit Opportunities Fund Loan SPV (Fund III), L.P. (“DIP Agent”)
Interest Rate:                 Non-default: SOFR plus 2.0%, which shall be accrued and payable upon maturity of
                               the DIP Loans
                               Default: SOFR plus 4.5% payable in cash monthly in arrears.
Fees                           50 bps on total facility size and 50 bps on unused committed amounts, both of which
                               shall be accrued and payable upon maturity of the DIP Loans.
Maturity and Repayment:        The DIP Loans shall mature on the earliest of (unless extended in writing by the DIP
                               Agent): (i) November 30, 2023; (ii) the effective date or the date of the substantial
                               consummation (as defined in section 1102(2) of the Bankruptcy Code) of a Plan of
                               Reorganization that has been confirmed by an order of the Bankruptcy Court; (iii) the
                               date the Bankruptcy Court orders the conversion of the Chapter 11 Case of the Debtor
                               or the chapter 11 case of Phoenix 1040, LLC to a liquidation under Chapter 7 of the
                               Bankruptcy Code; (iv) the date of consummation of a sale or other disposition of all or
                               substantially all of the assets of the Debtor under section 363 of the Bankruptcy Code
                               or otherwise; (v) the date the Bankruptcy Court orders the dismissal of the Chapter 11
                               Case or the chapter 11 case of Phoenix 1040, LLC; (vi) the date of acceleration of the
                               DIP Loans, including as a result of the occurrence and continuance of an Event of
                               Default; and (vii) the date that is 35 calendar days after the Petition Date if the Final
                               Order shall not have been entered by such date.

                               Upon the maturity of the DIP Loans, the Debtor shall repay to the DIP Agent for the
                               ratable account of the DIP Lenders the aggregate principal amount of all DIP Loans
                               outstanding on such date, together with all accrued and unpaid interest on the principal
                               amount of the DIP Loans (to be paid to but excluding the date of such payment) and all
                               fees and expenses and other obligations payable under the DIP Facility (together, the
                               “DIP Obligations”).




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Use of Proceeds:               The proceeds of the DIP Loans shall be applied strictly in accordance with the
                               Approved Budget (subject to the Permitted Variance), including, without limitation, to
                               the extent authorized by the Bankruptcy Court, to pay the prepetition accrued wages
                               specified in the Initial Budget (subject to the Permitted Variance).

                               No part of the proceeds of any DIP Loan, the Cash Collateral, or any other of the
                               Collateral will be used:

                               (i) for any purpose that is prohibited under the Bankruptcy Code or the Interim or the
                               Final Order; or
                               (ii) to investigate, commence, prosecute, or finance in any way (or reimburse for
                               expenses incurred or to be incurred in connection with) any action, suit, arbitration,
                               proceeding, application, motion, objection or other litigation adverse to the interests of
                               the DIP Agent and the DIP Lenders, including to commence or prosecute or join in any
                               action against the DIP Agent or the DIP Lenders with respect to or related to:
                               (A) the claims, liens or security interest of the DIP Agent and the DIP Lenders, or their
                               respective rights and remedies under the Interim Order or the Final Order, as the case
                               may be, including to commence or prosecute or join in any action against the DIP
                               Agent or the DIP Lenders seeking (x) to avoid, subordinate or recharacterize the DIP
                               Obligations, (y) any monetary, injunctive or other affirmative relief against the DIP
                               Agent or the DIP Lenders or (z) to prevent or restrict the exercise by the DIP Agent or
                               the DIP Lenders of any of their respective rights or remedies under the Interim Order
                               or the Final Order,
                               (B) any claims, demands, liabilities, responsibilities, disputes, remedies, causes of
                               action, indebtedness or obligations that are subjects of the releases set forth in the
                               Interim Order and the Final Order,
                               (C) the stipulations to be made by the Debtor and approved by the Final Order; or
                               (D) any other action which with the giving of notice or passing of time would result in
                               an Event of Default as described below; or
                               (iii) to investigate, commence, prosecute, or finance in any way (or reimburse for
                               expenses incurred or to be incurred in connection with) any action, suit, arbitration,
                               proceeding, application, motion, objection or other litigation adverse to the interests of
                               the Prepetition Agent or the Prepetition Lenders, including to commence or prosecute
                               or join in any action against the Prepetition Agent or the Prepetition Lenders with
                               respect to or related to the claims, liens or security interest of the Prepetition Agent and
                               the Prepetition Lenders, or their respective rights and remedies under the Interim Order
                               or the Final Order, as the case may be, or the Prepetition Loan Documents, including
                               to commence or prosecute or join in any action against the Prepetition Agent or the
                               Prepetition Lenders seeking (x) to avoid, subordinate or recharacterize the Prepetition
                               Obligations, (y) any monetary, injunctive or other affirmative relief against the
                               Prepetition Agent or the Prepetition Lenders or (z) to prevent or restrict the exercise by
                               the Prepetition Agent or the Prepetition Lenders of any of their respective rights or
                               remedies under the Interim Order or the Final Order, as the case may be, or, to the
                               extent authorized by the Interim Order or the Final Order, under the Prepetition Loan
                               Documents ; provided, however, that up to $50,000 in the aggregate of the proceeds of
                               any DIP Loan or cash collateral may be used solely by any statutory committee
                               appointed in the Chapter 11 Case to investigate, but not to commence, prosecute or
                               finance litigation, with respect to the foregoing.




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Budget                         Following delivery of the Initial Budget, not later than the last Business Day of the last
                               full calendar week of each month (or earlier with respect to the budget to be attached
                               to the Final Order) (the “Updated Budget Deadline”), the Debtor shall provide the DIP
                               Agent with an updated budget (each such update which is approved in accordance with
                               the terms hereof, an “Updated Budget”), prepared by management of the Debtor in
                               consultation with the DIP Agent covering a 13-week period that commences with the
                               Updated Budget Deadline, consistent with the form and level of detail set forth in the
                               Initial Budget. Each Updated Budget shall be, in each case, subject to the written
                               approval of the DIP Agent (in its sole discretion). As used herein, the “Approved
                               Budget” shall mean (i) initially, the Initial Budget and (ii) thereafter, upon (and subject
                               to) the approval of any Updated Budget by the DIP Agent, such Updated Budget.

Budget Variance                Commencing on Friday, September 8, 2023, and on each Friday thereafter, the Debtor
                               shall provide a weekly variance report to the DIP Agent showing actual receipts (if
                               any) and actual disbursements compared against the projected receipts (if any) and
                               projected disbursements in the Approved Budget through the last Business Day of the
                               prior week (each, a “Budget Variance Test Date”). The Debtor shall not permit:

                               (a) the sum of the actual aggregate operating disbursements of the Debtor for the four
                               weeks (or lesser period if applicable) ending immediately prior to such Budget
                               Variance Test Date (the “Budget Variance Test Period”) to be greater than 110% of the
                               aggregate amount set forth for the line item in the Approved Budget entitled “Total
                               Operating Disbursements” for such Budget Variance Test Period (the “Permitted
                               Variance”); or

                               (b) the sum of the actual disbursements of fees incurred by professionals of any
                               unsecured creditors committee in the Chapter 11 Case and of the Debtor ending
                               immediately prior to such Budget Variance Test Date to be greater than the amount set
                               forth for the line item in the Approved Budget under “Non-Operating Disbursements”
                               for such Budget Variance Test Period.

                               To the extent that any Budget Variance Test Period encompasses a period that is
                               covered in more than one Approved Budget, the applicable weeks from each
                               applicable Approved Budget shall be utilized in making the described above.




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Conditions of Borrowing        The following shall each be true as the date of any Credit Extension:

                               (a) (i) All Chapter 11 Orders filed or to be filed with, and submitted to, the Bankruptcy
                               Court shall be in form and substance reasonably acceptable to the DIP Agent.
                               (ii) Each Chapter 11 Order that has been entered as of such date shall be in full force
                               and effect and shall not have been vacated, reversed, modified, amended or stayed
                               without the written consent of the DIP Agent.
                               (iii) The Debtor shall be in compliance in all material respects with the Interim Order
                               and the Final Order, as applicable, and each other Chapter 11 Order.
                               (b) The DIP Agent shall have received a Request for Credit Extension in accordance
                               with the requirements hereof.
                               (c) All engagement letters or other agreements providing for the payment of the fees
                               and expenses of the Debtor’s proposed professional advisors shall be in form and
                               substance reasonably satisfactory to the DIP Agent.

                               The effectiveness of the DIP Credit Facility and the obligation of the DIP Lenders to
                               fund the Initial Loans shall be subject to the satisfaction or waiver of the following
                               conditions precedent:

                               (a) The Interim Order (i) shall have been entered by the Bankruptcy Court and (ii)
                               shall be in full force and effect and shall not (in whole or in part) have been reversed,
                               modified, amended, stayed, or vacated, absent prior written consent of Agent.
                               (b) All orders entered by the Bankruptcy Court pertaining to cash management and
                               adequate protection, shall, and all other motions and documents filed or to be filed
                               with, and submitted to, the Bankruptcy Court in connection therewith shall be in form
                               and substance reasonably satisfactory to the DIP Agent.
                               (c)(i) No trustee, examiner or receiver shall have been appointed or designated with
                               respect to the Debtor or its business, properties or assets, and (ii) no order shall be
                               entered by the Bankruptcy Court dismissing the Chapter 11 Case or any other relief
                               authorizing any third party to exercise control over the bankruptcy estate of the Debtor
                               or any Collateral with an aggregate fair market value in excess of $100,000 with
                               respect to all such motions.
                               (d) The DIP Agent shall have received the Initial Budget and such other information
                               (financial or otherwise) regarding the Initial Budget as the DIP Lenders or the DIP
                               Agent may reasonably request.
                               (e) Subject to Bankruptcy Court approval, the Debtor shall have the corporate power
                               and authority to make, deliver and perform their obligations under the Interim Order.

                               The obligation of the DIP Lenders to fund loans subsequent to the Initial Loans shall
                               be subject to the satisfaction or waiver of the following conditions precedent:

                               (a) The Final Order (i) shall be in form and substance satisfactory to the Agent, (ii)
                               shall have been entered by the Bankruptcy Court within a date which is 35 days
                               following the Petition Date, and (iii) shall be in full force and effect and shall not have
                               been modified or amended absent prior written consent of the DIP Agent or reversed,
                               modified, amended, stayed, or vacated, absent the prior written consent of the DIP
                               Agent.
                               (b) The Debtor shall be in compliance with each order entered in the Chapter 11 Case,
                               including the Interim Order, and following entry of the Final Order, the Final Order.
                               (c) The Debtor shall be in compliance with the Approved Budget (subject to the
                               Permitted Variance).
                               (d) All orders entered by the Bankruptcy Court pertaining to cash management and
                               adequate protection, shall, and all other motions and documents filed or to be filed
                               with, and submitted to, the Bankruptcy Court in connection therewith shall be in form
                               and substance reasonably satisfactory to the DIP Agent.
                               (e)(i) No trustee, examiner or receiver shall have been appointed or designated with

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                                respect to the Debtor or its business, properties or assets, and (ii) no order shall be
                                entered by the Bankruptcy Court dismissing the Chapter 11 Case or any other relief
                                authorizing any third party to exercise control over the bankruptcy estate of the Debtor
                                or any Collateral with an aggregate fair market value in excess of $100,000 with
                                respect to all such motions, and no motion or application shall have been filed with
                                respect to the foregoing other than a motion that is being contested by the Debtor in
                                good faith.
                                (f) The DIP Agent shall have received the Initial Budget and such other information
                                (financial or otherwise) regarding the Initial Budget as the DIP Lenders or the DIP
                                Agent may reasonably request.

Roll-up                         Subject to entry of the Final Order, an amount of the loans under the prepetition credit
                                facility (the “Prepetition Loans”) provided to the Debtor by the Prepetition Lenders
                                (which entities are also the DIP Lenders) shall be rolled up, and converted into DIP
                                Obligations secured by the DIP Liens ratably with the DIP Loans in an amount equal
                                to the sum of (x) the amounts advanced to Phoenix 1040, LLC immediately prior to the
                                Petition Date to fund the retention of professionals and premiums for director and
                                officer liability insurance (the “Prepetition Protective Advances”); and (y) 100% of the
                                aggregate amount of Cash Collateral used by the Debtor and DIP Loans advanced
                                pursuant to the Interim Order and the Final Order.
Perfection and Enforceability   Subject to entry of the Final Order, the Debtor stipulates that the Prepetition Loans and
of Prepetition Obligations      other obligations of the Debtor (the “Prepetition Obligations”) under that certain
and Liens                       Amended and Restated Credit and Security Agreement, dated as of May 15, 2023, and
                                the Loan Documents (as defined therein) (the “Prepetition Loan Documents”),
                                constitute legal, valid, binding, and non-avoidable obligations of the Debtor in
                                accordance with the respective terms of the relevant Prepetition Loan Documents, and
                                no portion of the Prepetition Obligations or any payment made to the Prepetition
                                Lenders or applied to or paid on account thereof prior to the Petition Date is subject to
                                any contest, attack, rejection, recovery, reduction, defense, counterclaim, offset,
                                subordination, recharacterization, avoidance or other claim (as such term is defined in
                                the Bankruptcy Code), cause of action including any avoidance actions under chapter
                                5 of the Bankruptcy Code), choses in action or other challenge of any nature under the
                                Bankruptcy Code or any applicable non-bankruptcy law. The Prepetition Protective
                                Advances shall be deemed “Protective Advances” under the Prepetition Loan
                                Documents.

                                Subject to entry of the Final Order, the Debtor stipulates that, as of the Petition Date,
                                pursuant to the Prepetition Loan Documents, the Debtor granted for the benefit of the
                                Prepetition Lenders, a valid, binding, properly perfected, enforceable, non-avoidable
                                first priority security interest in and continuing lien on (the “Prepetition Liens”)
                                substantially all of their assets and property as set forth in the Prepetition Loan
                                Documents (the “Prepetition Collateral”), subject only to any liens permitted by the
                                Prepetition Loan Documents to be senior to the Prepetition Liens, solely to the extent
                                that such permitted liens are (a) valid, perfected, and non-avoidable on the Petition
                                Date or (b) valid liens in existence on the Petition Date that are perfected subsequent to
                                the Petition Date in accordance with section 546(b) of the Bankruptcy Code
                                (collectively, the “Prepetition Permitted Senior Liens”).




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Challenge Period               The Debtor’s stipulations, admissions, agreements and releases contained in the Final
                               Order shall be binding upon the Debtor in all circumstances and for all purposes. The
                               Debtor’s stipulations, admissions, agreements and releases contained in the Final
                               Order shall be binding upon all other parties in interest, including, without limitation,
                               any statutory or non-statutory committees appointed or formed in the Chapter 11 Case
                               and any other person or entity acting or seeking to act on behalf of the Debtor’s estate,
                               including any chapter 7 or chapter 11 trustee or examiner appointed or elected for the
                               Debtor, in all circumstances and for all purposes unless: (a) (x) such committee or
                               other party in interest with requisite standing has timely filed an adversary proceeding
                               or contested matter (subject to the limitations contained herein) by no later than the
                               later of (x) 21 calendar days after entry of the Final Order and (y) if a chapter 7 or a
                               chapter 11 trustee is appointed or elected prior to the end of the Challenge Period (as
                               defined below), the Challenge Period solely for any such chapter 7 trustee or chapter
                               11 trustee shall be extended to the date that is the later of (A) 21 calendar days after
                               entry of the Final Order, or (B) the date that is 30 calendar days after their
                               appointment; or any such later date as has been agreed to in writing by the Prepetition
                               Lenders or has been ordered by the Court for cause upon a motion filed and served
                               within any applicable period (the time period established by the foregoing clauses (x)-
                               (z) the “Challenge Period”), (A) objecting to or challenging the amount, validity,
                               perfection, enforceability, priority or extent of the Prepetition Obligations or the
                               Prepetition Liens, or (B) asserting or prosecuting any avoidance action or any other
                               claims, counterclaims or causes of action, objections, contests or defenses
                               (collectively, the “Challenges”) against the Prepetition Lenders in connection with or
                               related to the Prepetition Loan Documents, the Prepetition Loans, the Prepetition
                               Liens, or the Prepetition Collateral; and (b) there is a final non-appealable order in
                               favor of the plaintiff sustaining any such Challenge; provided, however, that any
                               pleadings filed in connection with a Challenge shall set forth with specificity the basis
                               for such Challenge and any Challenges not so specified prior to the expiration of the
                               Challenge Period shall be deemed forever waived, released and barred. If no
                               Challenge is timely and properly filed during the Challenge Period or the Court does
                               not rule in favor of the plaintiff in any such Challenge, then: (1) the Debtor’s
                               stipulations, admissions, agreements and releases contained in the Final Order shall be
                               binding on all parties in interest; (2) the obligations of the Debtor under the Prepetition
                               Loan Documents shall constitute allowed claims not subject to defense avoidance,
                               reduction, setoff, recoupment, recharacterization, subordination, disallowance,
                               impairment, counterclaim, cross-claim, or any other challenge under the Bankruptcy
                               Code or any applicable law or regulation by any person or entity for all purposes in
                               this case and any Successor Case; (3) the Prepetition Liens shall be deemed to have
                               been, as of the Petition Date, legal, valid, binding, perfected, security interests and
                               liens, not subject to defense, avoidance, reduction, setoff, recoupment,
                               recharacterization, subordination (whether equitable, contractual or otherwise),
                               disallowance, impairment, counterclaim, cross-claim, or any other challenge under the
                               Bankruptcy Code or any applicable law or regulation by any person or entity,
                               including any statutory or non-statutory committees appointed or formed in the
                               Chapter 11 Case or any other party in interest acting or seeking to act on behalf of the
                               Debtor’s estates, including, without limitation, any chapter 7 or chapter 11 trustee or
                               examiner, and any defense, avoidance, reduction, setoff, recoupment,
                               recharacterization, subordination (whether equitable, contractual, or otherwise),
                               disallowance, impairment, counterclaim, cross-claim, or any other challenge under the
                               Bankruptcy Code or any applicable law or regulation by any statutory or non-statutory
                               committees appointed or formed in the Chapter 11 case or any other party acting or
                               seeking to act on behalf of the Debtor’s estates, including, without limitation, any
                               chapter 7 or chapter 11 trustee or examiner, whether arising under the Bankruptcy
                               Code or otherwise, against any of Prepetition Lenders shall be deemed forever waived,
                               released and barred. If any Challenge is timely filed during the Challenge Period, the
                               stipulations, admissions, agreements and releases contained in the Final Order shall

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                               nonetheless remain binding and preclusive (as provided in the second sentence of this
                               paragraph) on each person or entity, except to the extent that such stipulations,
                               admissions, agreements and releases were expressly and successfully challenged in
                               such Challenge as set forth in a final, non-appealable order of a court of competent
                               jurisdiction. Nothing in the Final Order will vest or confers on any person or entity
                               (each as defined in the Bankruptcy Code), including any statutory or non-statutory
                               committees appointed or formed in the Chapter 11 Case, standing or authority to
                               pursue any claim or cause of action belonging to the Debtor or its estate, including,
                               without limitation, any Challenges with respect to the Prepetition Loan Documents,
                               Prepetition Loans or Prepetition Liens, and any ruling on standing, if appealed, shall
                               not stay or otherwise delay confirmation of any plan of reorganization in the Chapter
                               11 Case.

Waiver/Modification of the     The Interim Order and the Final Order shall include a customary waiver/modification
Automatic Stay                 of the automatic stay to permit the DIP Agent and the DIP Lenders to take all actions
                               as are necessary or appropriate to implement the terms of the Interim Order and the
                               Final Order. The automatic stay shall be modified to the extent necessary to permit the
                               DIP Agent on behalf of the DIP Lenders to take any action necessary or appropriate to
                               perfect the liens of the DIP Lenders on the DIP Collateral and the Collateral.

Adequate Protection            Pursuant to sections 361, 362, 363(e), 364(d)(1) and 507 of the Bankruptcy Code, as
                               adequate protection of their respective interests in the Prepetition Collateral for the
                               aggregate diminution in value of such interests (including from the amount of any
                               Cash Collateral used by the Debtor) (the “Diminution in Value”) (if any) and as an
                               inducement to the Prepetition Lenders to consent to the use of their Cash Collateral,
                               the Prepetition Lenders are granted the following Adequate Protection (collectively,
                               the “Adequate Protection Obligations”), subject to and junior in all respects to the DIP
                               Obligations and the Carve-Out:

                               (i) The Prepetition Lenders, effective and perfected upon the date of the Interim
                               Order and without the necessity of the execution of any mortgages, security
                               agreements, pledge agreements, financing statements or other agreements, a valid,
                               perfected replacement security interest in and lien on account of the Prepetition
                               Lenders’ Diminution in Value (if any) upon all of the DIP Collateral, subject to and
                               junior in all respects to the DIP Liens (as defined below) and the Carve-Out; and

                               (ii) The Prepetition Lenders shall be granted allowed superpriority administrative
                               expense claims against the Debtor (without the need to file any proof of claim) on
                               account of the Prepetition Lenders’ Diminution in Value (if any) under section 507(b)
                               of the Bankruptcy Code (the “Prepetition Lender 507(b) Claims”), which Prepetition
                               Lender 507(b) Claims shall be payable from and have recourse to all DIP Collateral
                               and all proceeds thereof (excluding avoidance actions, but including upon entry of the
                               Final Order, without limitation, proceeds of avoidance actions). Except as otherwise
                               provided in the Interim Order or the Final Order and subject to and junior in all
                               respects to the DIP Superpriority Claims (as defined below) and the Carve-Out, the
                               Prepetition Lender 507(b) Claims shall have priority over any and all administrative
                               expenses and all other claims against the Debtor now existing or hereafter arising, of
                               any kind whatsoever, including, without limitation, all administrative expenses of the
                               kind specified in sections 503(b) and 507(b) of the Bankruptcy Code, whether or not
                               such claims may become secured by a judgment lien or other non-consensual lien, levy
                               or attachment.




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Collateral:                    As security for the DIP Obligations, effective and automatically properly perfected on
                               the date the Interim Order is entered, and without the necessity of execution,
                               recordation or filing of any perfection document or instrument, or the possession or
                               control by the DIP Agent of, or over, any Collateral, without any further action by the
                               DIP Lenders, the following valid, binding, continuing, fully perfected, enforceable and
                               non-avoidable security interests and liens (the “DIP Liens”) will be granted to the DIP
                               Agent for the benefit of the DIP Lenders (all property identified below being
                               collectively referred to as the “DIP Collateral,” and, together with the Prepetition
                               Collateral, the “Collateral”), subject to and junior in all respects to the Carve-Out:

                               Liens on Unencumbered Property

                               Pursuant to section 364(c)(2) of the Bankruptcy Code, a first priority lien on and
                               security interest in (subject only to the Carve-Out) all tangible and intangible
                               prepetition and postpetition property of the Debtor whether existing on the Petition
                               Date or thereafter acquired, including, without limitation, the Debtor’s mortgage
                               servicing rights (to the extent such rights are unencumbered property) and the
                               proceeds, products, rents, and profits thereof, that, on or as of the Petition Date, is not
                               subject to (i) a valid, perfected and non-avoidable lien or (ii) a valid and non-avoidable
                               lien in existence as of the Petition Date that is perfected subsequent to the Petition
                               Date as permitted by section 546(b) of the Bankruptcy Code, other than avoidance
                               actions and the Carve-Out (and any amounts held therein), but including, upon and
                               subject to entry of the Interim Order, proceeds of avoidance actions (collectively, the
                               “Unencumbered Property”).

                               Liens Junior to Certain Other Liens on Encumbered Property

                               Pursuant to section 364(c)(3) of the Bankruptcy Code, a valid, binding, continuing,
                               enforceable, fully perfected security interest in and lien upon all tangible and
                               intangible prepetition and postpetition property of the Debtor that, on or as of the
                               Petition Date, is subject to and junior in all respects to the Prepetition Liens and the
                               liens or security interests permitted under the Prepetition Loan Documents (i.e., the
                               Prepetition Permitted Senior Liens), which Collateral (the “Encumbered Property”)
                               shall be subject to such Prepetition Liens and Prepetition Permitted Senior Liens.

                               For the avoidance of doubt, the valid and enforceable interests of providers of
                               warehouse credit facilities in mortgage loans and related documents existing as of the
                               Petition Date (the “Prepetition Warehoused Mortgage Loans Collateral”) shall be
                               deemed Prepetition Permitted Senior Liens and the Prepetition Warehoused Mortgage
                               Loans Collateral shall be deemed Encumbered Property.

DIP Superpriority Claims       The DIP Obligations shall be superpriority administrative expense claims against the
                               Debtors (without the need to file any proof of claim) under section 507(b) of the
                               Bankruptcy Code entitled to superpriority status senior to the Prepetition Lender
                               507(b) Claims, as set forth in the Interim Order and the Final Order (the “DIP
                               Superpriority Claims”).
Carve-Out:                     As to be provided in the Interim Order and Final Order




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Events of Default:             (b) Failure to pay or prepay principal or interest within three (3) business days after
                               the same becomes due.
                               (c) Failure to perform or observe any other term, covenant or agreement described
                               herein and such failure continue for fifteen (15) days after receipt by the Debtor of
                               written notice thereof.
                               (d) Any final judgment or order is entered against the Debtor for the payment of
                               money in excess of $100,000 and such judgment or order shall not have been satisfied,
                               vacated, discharged or stayed or bonded pending appeal for a period of (60) days.
                               (e) The Interim Order or the Final Order shall for any reason cease to create, or shall
                               be asserted by the Debtor not to create, a valid and perfected lien on and security
                               interest in the Collateral with the priority required herein.
                               (f) Any Change in Control.
                               (g) The Final Order shall not have been entered by the Bankruptcy Court on or
                               before the date that is 35 days following the Petition Date, which Final Order shall be
                               in full force and effect and shall not have been reversed, modified, amended, stayed, or
                               vacated.
                               (h) The Chapter 11 Case or the chapter 11 case of Phoenix 1040, LLC shall be
                               dismissed or the Bankruptcy Court shall have made a ruling requiring the dismissal of
                               the Chapter 11 Case or the chapter 11 case of Phoenix 1040, LLC , suspended or
                               converted it to a case under chapter 7 of the Bankruptcy Code, or the Debtor shall file
                               any pleading requesting any such relief; or a motion shall be filed by the Debtor for the
                               approval of, or there shall arise, (x) any other claim having priority senior to or pari
                               passu with the claims of the DIP Agent and the DIP Lenders or any other claim having
                               priority over any or all administrative expenses of the kind specified in clause (b) of
                               Section 503 or clause (b) of Section 507 of the Bankruptcy Code (other than the
                               Carve-Out)or (y) any Lien on the Collateral having a priority senior to or pari passu
                               with the Liens and security interests granted in the Interim Order or the Final Order,
                               except as expressly provided herein and in the Interim Order or the Final Order, as
                               applicable.
                               (i) The Debtor shall file a motion in the Chapter 11 Case to obtain additional or
                               replacement financing from a party other than DIP Lenders under Section 364(d) of
                               the Bankruptcy Code or to use Cash Collateral of a DIP Lender under Section 363(c)
                               of the Bankruptcy Code, except to the extent any such financing shall provide for the
                               payment in full in cash of the DIP Obligations and the obligations under the
                               Prepetition Loan Documents.
                               (j) The Debtor shall file a motion seeking, or the Bankruptcy Court shall enter, an
                               order (A) approving payment of any prepetition claim other than (x) as provided for in
                               (i) the First Day Orders or Second Day Orders or (ii) the Approved Budget or (y)
                               otherwise consented to by the DIP Agent on behalf of the DIP Lenders in writing, (B)
                               granting relief from the automatic stay applicable under section 362 of the Bankruptcy
                               Code to any holder of any security interest to permit foreclosure on any assets with a
                               fair market value in excess of $100,000; or (C) approving any settlement or other
                               stipulation not approved by the DIP Agent on behalf of the DIP Lenders in writing
                               with any secured creditor providing for payments as adequate protection or otherwise
                               to such secured creditor.
                               (k) An order shall be entered by the Bankruptcy Court without the express prior
                               written consent of the DIP Agent on behalf of the DIP Lenders (i) to revoke, reverse,
                               stay, modify, supplement, vacate or amend the Interim Order or the Final Order in a
                               manner inconsistent with this term sheet in a manner adverse to the DIP Lenders, (ii)
                               to permit any administrative expense or any claim (now existing or hereafter arising, of
                               any kind or nature whatsoever) to have administrative priority equal or superior to the
                               priority of the DIP Loans (other than the Carve-Out); or (iii) to grant or permit the
                               grant of a Lien on the Collateral.
                               (l) An application for any of the orders described in clauses (h), (i), (j), (k), (n) and
                               (r) shall be made by a Person other than the Debtor, and such application is not
                               contested by the Debtor in good faith or any Person obtains a non-appealable final

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                               order charging any of the Collateral under section 506(c) of the Bankruptcy Code
                               against the DIP Lenders or obtains a final order adverse to the DIP Lenders.
                               (m) The Debtor shall fail to comply with the terms and conditions of the Interim
                               Order or the Final Order in any material respect, and such failure is not cured within
                               two (2) Business Days of knowledge or notice thereof.
                               (n) The Bankruptcy Court shall enter order appointing a trustee under Chapter 7 or
                               Chapter 11 of the Bankruptcy Code, or a responsible officer or an examiner with
                               enlarged powers relating to the operation of the business (powers beyond those set
                               forth in subclauses (3) and (4) of clause (a) of Section 1106 of the Bankruptcy Code)
                               under clause (b) of Section 1106 of the Bankruptcy Code in the Chapter 11 Case or the
                               chapter 11 case of Phoenix 1040, LLC or the Debtor shall file, or support, any pleading
                               seeking such relief.
                               (o) The entry of an order by the Bankruptcy Court terminating or modifying the
                               exclusive right of the Debtor to file a Plan of Reorganization pursuant to section 1121
                               of the Bankruptcy Code, without the prior written consent of the DIP Agent on behalf
                               of the DIP Lenders.
                               (p) The Debtor shall support (in any such case by way of any motion or other
                               pleading filed with the Bankruptcy Court or any other writing to another party-in-
                               interest executed by or on behalf of the Debtor) any other Person’s opposition of any
                               motion made in the Bankruptcy Court by or on behalf of the DIP Lenders seeking
                               confirmation of the amount of the DIP Lenders’ claim or the validity and
                               enforceability of the Liens in favor of the DIP Agent.
                               (q) (A) The Debtor shall seek to, or shall support (in any such case by way of any
                               motion or other pleading filed with the Bankruptcy Court or any other writing to
                               another party-in-interest executed by or on behalf of the Debtor any other person’s
                               motion to, disallow in whole or in part the DIP Lenders’ claim in respect of the
                               Obligations or to challenge the validity and enforceability of the Liens in favor of the
                               DIP Agent or contest any material provision of any Loan Document, (B) the Debtor
                               shall attempt to invalidate, reduce or otherwise impair the Liens or security interests of
                               the DIP Agent or the DIP Lenders or to subject any Collateral to assessment pursuant
                               to section 506(c) of the Bankruptcy Code, (C) any Liens on the Collateral and/or
                               super-priority claims shall otherwise, for any reason, cease to be valid, perfected and
                               enforceable in all respects, (D) any action is commenced by the Debtor that contests
                               the validity, perfection or enforceability of any of the Liens and security interests of
                               the DIP Agent or the DIP Lenders created by the Interim Order or the Final Order, or
                               (E) any material provision of the Interim Order or the Final Order shall cease to be
                               effective.
                               (r) Any judgments which are in the aggregate in excess of $100,000 as to any
                               postpetition obligation shall be rendered against the Debtor and the enforcement
                               thereof shall not be stayed.
                               (s) An order shall be entered by the Bankruptcy Court transferring venue of the
                               Chapter 11 Case to any other court.

Milestones:                    To be included in the Final Order.




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B.       Additional Required Disclosures

                  17.        Pursuant to Local Bankruptcy Rule 4001-2(a)(i), a debtor in possession

seeking authority to use cash collateral or obtain financing must disclose the presence and location

of certain provisions contained in the documentation evidencing the cash collateral usage or

financing. The debtor in possession must also justify the inclusion of certain such provisions. Set

forth below are the disclosures required in accordance Local Bankruptcy Rule 4001-2(a)(i)(A)-(X)

(many of which are also disclosed in Paragraph 16 of this Motion as set forth above):

              (i)       Local Bankruptcy Rule 4001-2(a)(i)(A) requires a Debtors to disclose the
         amount of cash collateral the Debtors seeks permission to use or the amount of credit the
         Debtors seeks to obtain under the proposed loan agreement, including the committed
         amount of the proposed loan agreement and the amount of new funding that will actually
         be available for borrowing by the Debtors.

               Cash Collateral in the amount of approximately $483,000 would be used by
         the Debtors in accordance with the Budget.

                New money DIP Loans total $ 5 million, of which $2.775 million would be
         available under the Interim Order, as set forth in the Recitals to the proposed Interim
         Order.

              (ii)       Local Bankruptcy Rule 4001-2(a)(i)(B) require the disclosure of pricing and
         economic terms, including letter of credit fees, commitment fees, and any other fees,
         provided that when any such terms are sought to be filed under seal, they shall not be
         disclosed in the Financing Motion itself, but shall be set forth in a separate document filed
         pursuant to the procedures set forth in Local Bankruptcy Rule 9018-1(d), the filing of
         which shall be disclosed in the Financing Motion.

               The economic terms of the DIP Loans are disclosed in the DIP Term Sheet.
         There are no terms sought to be filed under seal.

             (iii)      Local Bankruptcy Rule 4001-2(a)(i)(C) requires the disclosure of
         provisions that specifically limit the Court’s power or discretion to enter future orders in
         the case.

                  None.

             (iv)        Local Bankruptcy Rule 4001-2(a)(i)(D) requires disclosure of provisions
         that provide for the funding of non-Debtors affiliates with cash collateral or proceeds of
         the loan, as applicable, and the approximate amount of such funding.

                  None.

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             (v)        Local Bankruptcy Rule 4001-2(a)(i)(E) requires disclosure of material
         conditions to closing and borrowing, including budget provisions.

                  The material conditions to borrowing are disclosed in DIP Term Sheet.

             (vi)       Local Bankruptcy Rule 4001-2(a)(i)(F) requires disclosure of any carve-
         outs from liens or superpriority claims, including the material terms of any professional fee
         carve-out.

                The provisions of the Carve-Out are disclosed in paragraph 16 of the proposed
         Interim Order.

            (vii)       Local Bankruptcy Rule 4001-2(a)(i)(G) requires disclosure of provisions
         that provide for postpetition liens on unencumbered assets, including the identification of
         such assets.

               The DIP Liens cover Unencumbered Property to the extent set forth in the DIP
         Term Sheet and paragraph 9 of the proposed Interim Order.

           (viii)        Local Bankruptcy Rule 4001-2(a)(i)(H) requires disclosure of provisions
         that establish any sale or plan milestones.

                 Milestones are contemplated, but have not been agreed as yet and will be set
         forth in the proposed Final Order.

             (ix)        Local Bankruptcy Rule 4001-2(a)(i)(I) requires disclosure of provisions that
         provide for a prepayment penalty or other provisions that affect the Debtor’s right or ability
         to repay the financing in full during the course of the chapter 11 case.

                  None.

              (x)       Local Bankruptcy Rule 4001-2(a)(i)(J) requires disclosure of provisions, in
         jointly administered cases, that govern joint liability of the Debtors, including any
         provisions that would cause one jointly administered Debtors to become liable for the
         prepetition debt of another jointly administered Debtors for which it was not previously
         subject to.

               None for purposes of the proposed Interim Order. To be determined as to the
         proposed Final Order.

             (xi)       Local Bankruptcy Rule 4001-2(a)(i)(K) requires disclosure of provisions
         that require the Debtors to pay an agent’s or lender’s expenses and attorneys’ fees in
         connection with the proposed financing or use of cash collateral, without any notice or
         review by the Office of the United States Trustee, the committee appointed under section
         1102 of the Bankruptcy Code (if formed) or, upon objection by either of the foregoing
         parties, the Court.



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                  None.

            (xii)        Local Bankruptcy Rule 4001-2(a)(i)(L) requires disclosure of provisions
         that prohibit the use of estate funds to investigate the liens and claims of the prepetition
         lender.

               None for purposes of the proposed Interim Order. To be determined as to the
         proposed Final Order.

            (xiii)      Local Bankruptcy Rule 4001-2(a)(i)(M) requires disclosure of any
         termination or default provisions concerning the use of cash collateral or the availability of
         credit.

                 The default and termination provisions are disclosed in paragraphs 17 and 20
         of the proposed Interim Order.

            (xiv)       Local Bankruptcy Rule 4001-2(a)(i)(N) requires disclosure of any
         provisions that grant cross-collateralization protection or elevate prepetition debt to
         administrative expense (or higher) status or that secure prepetition debt with liens on
         postpetition assets (which liens the creditor would not otherwise have by virtue of the
         prepetition security agreement or applicable law).

               There is a partial roll-up of the Prepetition Obligations contemplated in the
         proposed Final Order.

            (xv)        Local Bankruptcy Rule 4001-2(a)(i)(O) requires disclosure of any
         provisions that apply the proceeds of postpetition financing to pay, in whole or in part,
         prepetition debt or which otherwise have the effect of converting (or “rolling up”)
         prepetition debt to postpetition debt.

               There is a partial roll-up of the Prepetition Obligations contemplated in the
         proposed Final Order.

            (xvi)        Local Bankruptcy Rule 4001-2(a)(i)(P) requires disclosure of any
         provisions that immediately prime valid, perfected and non-avoidable liens existing
         immediately prior to the petition date or that are perfected subsequent to the petition date
         as permitted by section 546(b) of the Bankruptcy Code, in each case that are senior to the
         lender’s prepetition liens under applicable law, without the consent of the affected secured
         creditors, and the proposed notice to be provided to such affected secured creditors.

               The proposed DIP Orders do not provide for the priming of any pre-existing
         secured liens.

           (xvii)         Local Bankruptcy Rule 4001-2(a)(i)(Q) requires disclosure of any
         provisions or findings of fact that (i) bind the estate or other parties in interest with respect
         to the validity, perfection or amount of the secured creditor’s prepetition lien or the waiver
         of claims against the secured creditor without first giving parties in interest, including, but
         not limited to, any official committee appointed in these cases, at least seventy-five (75)

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         days from the entry of the initial interim order to investigate such matters or (ii) limit the
         Court’s ability to grant relief in the event of a successful challenge.

               None in the proposed Interim Order. There are certain stipulations
         contemplated in favor of the Prepetition Secured Parties, subject to challenge, in the
         proposed Final Order, as set forth in the DIP Term Sheet.

          (xviii)        Local Bankruptcy Rule 4001-2(a)(i)(R) requires disclosure of any
         provisions that immediately approve all terms and conditions of the underlying loan
         agreement (provided that provisions in the order that provide that the Debtors is authorized
         to enter into and be bound by the terms and conditions of such loan agreement do not need
         to be summarized).

               The DIP Term Sheet and the authority of the Debtors to enter into the DIP
         Loans are approved upon entry of the Interim Order.

            (xix)        Local Bankruptcy Rule 4001-2(a)(i)(S) requires disclosure of any
         provisions that modify or terminate the automatic stay or permit the lender to enforce
         remedies following an event of default that do not require at least five (5) days’ written
         notice to the trustee or Debtors in possession, the Office of the United States Trustee and
         each committee appointed under sections 1102 and 1114 of the Bankruptcy Code (the
         “Remedies Notice Period”), prior to such modification or termination of the automatic stay
         or the enforcement of the lender’s remedies.

               None. This requirement is met in the proposed Interim Order, as set forth in
         paragraphs 17 and 20 thereof.

            (xx)        Local Bankruptcy Rule 4001-2(a)(i)(T) requires disclosure of any
         provisions that seek to limit what parties in interest (other than the Debtors) may raise at
         any emergency hearing scheduled during the Remedies Notice Period.

                  None.

            (xxi)       Local Bankruptcy Rule 4001-2(a)(i)(U) requires disclosure of any
         provisions that immediately grant to the prepetition secured creditor liens on the Debtor’s
         claims and causes of action arising under sections 544, 545, 547, and 548 of the Bankruptcy
         Code or, in each case, the proceeds thereof.

               Liens on the proceeds of avoidance actions are effective only upon entry of the
         proposed Final Order.

           (xxii)      Local Bankruptcy Rule 4001-2(a)(i)(V) requires disclosure of any
         provisions that immediately waive the Debtor’s rights under section 506(c) of the
         Bankruptcy Code.

                  None. These provisions are subject to entry of the proposed Final Order.



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          (xxiii)       Local Bankruptcy Rule 4001-2(a)(i)(W) requires disclosure of any
         provisions that immediately seek to affect the Court’s power to consider the equities of the
         case doctrine under section 552(b)(1) of the Bankruptcy Code.

                  None. These provisions are subject to entry of the proposed Final Order.

          (xxiv)        Local Bankruptcy Rule 4001-2(a)(i)(X) requires disclosure of any
         provisions that immediately shield the lender from the equitable doctrine of “marshalling”
         or any similar doctrine.

                  None. These provisions are subject to entry of the proposed Final Order.

C.       Need for Financing and Use of Cash Collateral

                  18.        As noted above and in the First Day Declaration, AmeriFirst has an

immediate and critical need to obtain the DIP Loans and use Cash Collateral (solely to the extent

consistent with the Budget) to, among other things, (a) continue business operations; (b) make

payroll; and (c) fund expenses of the Chapter 11 Cases. AmeriFirst does not have sufficient

sources of working capital and financing to maximize value throughout the Chapter 11 Cases

without access to the DIP Loans and authorized use of Cash Collateral. In the absence of the DIP

Term Sheet and the use of Cash Collateral, AmeriFirst’s business and estate would suffer

immediate and irreparable harm. Without access to the DIP Loans and Cash Collateral, AmeriFirst

would run out of money and its ability to maintain going concern value would evaporate.

                  19.        As set out in the First Day Declaration, AmeriFirst is unable to obtain

financing on more favorable terms from sources other than the DIP Lenders under the DIP Term

Sheet and are unable to obtain adequate unsecured credit allowable under section 503(b)(1) of the

Bankruptcy Code as an administrative expense. AmeriFirst is also unable to obtain secured credit

allowable under sections 364(c)(1), 364(c)(2), and 364(c)(3) of the Bankruptcy Code without

granting the DIP Liens and the DIP Superpriority Claims (each as defined herein), in each case

subject to the Carve-Out to the extent set forth herein, under the terms and conditions set forth in

the Interim Order and the DIP Term Sheet.

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                                          V. BASIS FOR RELIEF

A.       AmeriFirst Should Be Permitted to Obtain Postpetition Financing Pursuant to
         Section 364(c) of the Bankruptcy Code

                  20.        Section 364(c) of the Bankruptcy Code requires a finding, made after notice

and a hearing, that a debtor seeking postpetition financing on a secured basis cannot “obtain

unsecured credit allowable under section 503(b)(l) of [the Bankruptcy Code] as an administrative

expense.” 11 U.S.C. § 364(c).

                  21.        In evaluating proposed postpetition financing under section 364(c) of the

Bankruptcy Code, courts perform a qualitative analysis and generally consider similar factors,

including whether:

                  a.         unencumbered credit or alternative financing without superpriority status is
                             available to the Debtors;

                  b.         the credit transactions are necessary to preserve assets of the estate;

                  c.         the terms of the credit agreement are fair, reasonable, and adequate;

                  d.         the proposed financing agreement was negotiated in good faith and at arm’s-
                             length and entry thereto is an exercise of sound and reasonable business
                             judgment and in the best interest of the Debtors’ estate and its creditors; and

                  e.         the proposed financing agreement adequately protects the DIP Lender.

See, e.g., In re Aqua Assoc., 123 B.R. 192 (Bankr. E.D. Pa. 1991) (applying the first three factors

in making a determination under section 364(c)).

                  22.        To satisfy the standards of section 364 of the Bankruptcy Code, a debtor is

not required to seek credit from every possible source: “the statute imposes no duty to seek credit

from every possible lender before concluding that such credit is unavailable.” Bray v. Shenandoah

Fed. Sav. & Loan Ass’n (In re Snowshoe Co.), 789 F.2d 1085, 1088 (4th Cir. 1986). Rather, a

debtor need only demonstrate “by a good faith effort that credit was not available without” the

protections of section 364(c). Id.; see also In re Ames, 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990).


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Where there are few lenders likely to be able and willing to extend the necessary credit to the

debtor, “it would be unrealistic and unnecessary to require [the debtor] to conduct an exhaustive

search for financing.” In re Sky Valley, Inc., 100 B.R. 107, 113 (Bankr. N.D. Ga. 1988).

                  23.        There are no prohibitions in the Bankruptcy Code for an insider or an

affiliate of an insider to make a debtor-in-possession loan. See In re 495 Central Park Avenue

Corp., 136 B.R. 626 (Bankr. S.D.N.Y. 1992) (allowing priming debtor-in-possession loan from

shareholders of the debtor); Bland v. Farmworker Creditors (In re Bland), 308 B.R. 109 (S.D. Ga.

2003) (recognizing that courts can approve post-petition loans from insiders).

                  24.        For the reasons discussed below and in the First Day Declaration,

AmeriFirst satisfies the standards required to obtain postpetition financing in the Chapter 11 Cases

on senior secured superpriority basis as to the DIP Collateral under sections 364(c)(1) and (2)of

the Bankruptcy Code.

B.       AmeriFirst is Unable to Obtain Financing on More Favorable Terms

                  25.        As discussed above and in the First Day Declaration, under the facts of these

Chapter 11 Cases, AmeriFirst is unable to obtain postpetition financing from any other parties

other than the Prepetition Lenders. The DIP Term Sheet provides AmeriFirst with the only

postpetition financing option available for the orderly maintenance of the its assets and should be

approved by this Court.

                  26.        AmeriFirst respectfully submits that its efforts to obtain postpetition

financing under the facts of these Chapter 11 Cases satisfy the standard required under section

364(c) of the Bankruptcy Code. See, e.g., In re Sky Valley, Inc., 100 at 113 (where few lenders

can or will extend the necessary credit to a Debtors, “it would be unrealistic and unnecessary to

require [the Debtors] to conduct such an exhaustive search for financing”).



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C.       The Proposed DIP Loans are Necessary to Maximize the Value of the Estates

                  27.        AmeriFirst seeks to use the DIP Loans to fund ordinary business expenses

such as payroll, and bankruptcy-related costs and expenses, in accordance with the Budget, to

maximize the value of these estates. The DIP Term Sheet represents the best economic alternative

for a new debtor in possession lending arrangement.

                  28.        As set forth in the First Day Declaration, AmeriFirst needs to continue to

operate in the ordinary course, including satisfying payroll obligations, so as to maximize the value

of its assets. Failure to access the DIP Loans would irreparably damage AmeriFirst’s efforts to

effectuate an orderly Chapter 11 process for the benefit of all constituents. Accordingly, the

Debtors urge the Court to authorize the DIP Term Sheet and the DIP Loans on the terms

contemplated herein.

  D.       The Terms of the Proposed DIP Term Sheet are Fair and Appropriate

                  29.        In considering whether the terms of postpetition financing are fair and

reasonable, courts consider the terms in light of the relative circumstances of both the debtor and

the potential lender. In re Farmland Indus., Inc., 294 B.R. 855, 886 (Bankr. W.D. Mo. 2003); see

also Unsecured Creditors’ Comm. Mobil Oil Corp. v. First Nat’l Bank & Trust Co. (In re Ellingsen

MacLean Oil Co.), 65 B.R. 358, 365 (W.D. Mich. 1986) (a debtor may have to enter into hard

bargains to acquire funds).

                  30.        The terms of the DIP Term Sheet were negotiated in good faith and at arm’s-

length between the Debtors and the DIP Lenders, resulting in an agreement that is designed to

permit the Debtors to maximize the value of their assets. The Debtors submit that the proposed

terms of the DIP Loans are fair, reasonable, and appropriate under the circumstances. See, e.g.,

Bray v. Shenandoah Fed. Sav. and Loan Ass’n (In re Snowshoe Co.), 789 F.2d 1085, 1088 (4th Cir.

1986) (stating that section 364(d) of the Bankruptcy Code imposes no duty to seek credit from every

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possible lender); In re Western Pacific Airlines, Inc., 223 B.R. 567 (Bankr. D. Colo. 1997)

(authorizing postpetition financing that would preserve the value of the Debtors’ assets). Further,

the Prepetition Lenders consent to the DIP Loans on the terms set forth in the DIP Term Sheet.

E.       The Carve-Out is Appropriate

                  31.        The DIP Liens and adequate protection are subject and subordinate to the

Carve-Out in all respects.

                  32.        The Carve-Out contains similar terms to others that this Court has found to

be reasonable and necessary to ensure that a debtor’s estate and any statutory committee can retain

assistance from their advisors and other critical expenses. Without the Carve-Out, the Debtors’

estates may be deprived of possible rights and powers if the services for which professionals may

be compensated are restricted. See In re Ames Dep’t Stores, Inc., 115 B.R. 34, 38 (Bankr. S.D.N.Y.

1990) (observing that courts insist on carve outs for professionals representing parties in interest

because “[a]bsent such protection, the collective rights and expectations of all parties-in-interest

are sorely prejudiced”). Additionally, the Carve-Out protects against administrative insolvency

during the course of these cases by ensuring that assets remain for the payment of the U.S. Trustee

fees and professional fees, among other expenses, notwithstanding the grant of superpriority

claims and liens under the DIP Orders. Accordingly, the Carve-Out is appropriate and should be

approved.

F.       The DIP Lenders Should Be Deemed Good Faith Lenders

                  33.        Section 364(e) of the Bankruptcy Code protects a good faith lender’s right

to collect on loans extended to a debtor, and its right in any lien securing those loans, even if the

authority of the debtor to obtain such loans or grant such liens is later reversed or modified on

appeal. Section 364(e) provides that:



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                  The reversal or modification on appeal of an authorization under this section
                  [364 of the Bankruptcy Code] to obtain credit or incur debt, or of a grant
                  under this section of a priority or a lien, does not affect the validity of any
                  debt so incurred, or any priority or lien so granted, to an entity that extended
                  such credit in good faith, whether or not such entity knew of the pendency
                  of the appeal, unless such authorization and the incurring of such debt, or
                  the granting of such priority or lien, were stayed pending appeal.

11 U.S.C. § 364(e).

                  34.        Here, the Debtors believe the DIP Term Sheet embodies the most favorable

terms on which AmeriFirst could obtain postpetition financing. As described in the First Day

Declaration, negotiations of the terms of the DIP Facility with the DIP Lenders were conducted in

good faith and at arms’ length. The terms and conditions of the DIP Term Sheet are fair and

reasonable, and the proceeds of the DIP Loans will be used only for purposes that are permissible

under the Bankruptcy Code and in accordance with the DIP Orders and the DIP Term Sheet,

including the Budget. Any consideration being provided to any of the DIP Lenders is described

herein. Accordingly, the Court should find that the DIP Lenders are “good faith” lenders within

the meaning of section 364(e) of the Bankruptcy Code and are entitled to all of the protections

afforded by that section.

G.       The Proposed DIP Term Sheet Reflects AmeriFirst’s Sound Business Judgment

                  35.        A debtor’s decision to enter into a postpetition lending facility under section

364 of the Bankruptcy Code is governed by the business judgment standard. See, e.g., Trans World

Airlines, Inc. v. Travelers Int’l AG (In re Trans World Airlines, Inc.), 163 B.R. 964, 974 (Bankr.

D. Del. 1994) (approving postpetition credit facility because such facility “reflect[ed] sound and

prudent business judgment”); In re Ames Dep’t Stores, Inc., 115 B.R. at 38 (financing decisions

under section 364 of the Bankruptcy Code must reflect a debtor’s business judgment).

                  36.        Bankruptcy courts routinely accept a debtor’s business judgment on many

business decisions, including the decision to borrow money. See, e.g., Group of Inst. Investors v.

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Chicago, Mil., St. P. & Pac., 318 U.S. 523, 550 (1943) (holding that decisions regarding

assumption or rejection of leases are left to the business judgment of the Debtors); In re Simasko

Prod. Co., 47 B.R. 444, 449 (D. Colo. 1985) (“Business judgments should be left to the board

room and not to this Court.”). Further, one court has noted that “[m]ore exacting scrutiny [of

the debtor’s business decisions] would slow the administration of the debtor’s estate and increase

its cost, interfere with the Bankruptcy Code’s provision for private control of administration of the

estate, and threaten the court’s ability to control a case impartially.” Richmond Leasing Co. v.

Capital Bank, N.A., 762 F.2d 1303, 1311 (5th Cir. 1985).

                  37.        Bankruptcy courts generally will defer to a debtor in possession’s business

judgment regarding the need for and the proposed use of funds, unless such decision is arbitrary

and capricious. In re Curlew Valley Associates, 14 B.R. 506, 511-13 (Bankr. D. Utah 1981); see

also Trans World Airlines, Inc., 163 B.R. at 974 (approving interim loan, receivables facility and

asset-based facility based upon prudent business judgment of the Debtors). Generally courts will

not second-guess a debtor in possession’s business decisions involving “a business judgment made

in good faith, upon a reasonable basis, and within the scope of his authority under the Code.”

Curlew Valley, 14 B.R. at 513-14 (footnotes omitted).

                  38.        For the reasons set forth above and in the First Day Declaration,

AmeriFirst’s sound business judgment clearly supports approval of the DIP Term Sheet. Access

to the DIP Loans will allow AmeriFirst to continue to operate, thus maximizing value for all of

their constituents.

H.       Section 363 of the Bankruptcy Code Authorizes AmeriFirst’s Use of Cash Collateral

                  39.        Section 363(c)(2) of the Bankruptcy Code provides that a debtor in

possession may not use cash collateral unless (A) each entity that has an interest in such cash

collateral provides consent, or (B) the court approves the use of cash collateral after notice and a

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hearing. See 11 U.S.C. § 363(c). Section 363(e) of the Bankruptcy Code provides that, “on request

of an entity that has an interest in property used . . . or proposed to be used . . . by the [debtors in

possession], the court . . . shall prohibit or condition such use . . . as is necessary to provide adequate

protection of such interest.” 11 U.S.C. § 363(e).

                  40.        Here, AmeriFirst seeks authority to use the Cash Collateral pursuant to the

Budget and have sought approval of various forms of adequate protection in favor of the

Prepetition Lenders, including adequate protection liens and superpriority claims on the DIP

Collateral to the extent of any diminution. Importantly, the DIP Lenders and the Prepetition

Lenders consent to the use of Cash Collateral on the terms set forth in the Interim Order and Final

Order.

                  41.        Bankruptcy Rule 4001(b) permits a court to approve a debtor’s request for

use of cash collateral during the 14-day period following the filing of a motion requesting

authorization to use cash collateral, “only . . . as is necessary to avoid immediate and irreparable

harm to the estate pending a Final hearing.” Bankruptcy Rule 4001(b)(2). In examining requests

for interim relief under this rule, courts apply the same business judgment standard applicable to

other business decisions. See, e.g., In re Simasko Production Co., 47 B.R. at 449; see also In re

Ames Dep’t Stores Inc., 115 B.R. at 38. After the 14-day period, the request for use of cash

collateral is not limited to those amounts necessary to prevent harm to the debtor’s business.

                  42.        As previously noted, in order to continue operating and satisfying accruing

administrative expenses, the Debtors require access to the DIP Loans and the use of Cash

Collateral. Such use will provide AmeriFirst with the necessary funds to remain administratively

solvent.




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                  43.        Absent access to Cash Collateral, AmeriFirst would face immediate and

irreparable harm. AmeriFirst would be forced to cease operations and convert these Chapter 11

Cases to Chapter 7. Jobs would be lost and substantial value destroyed. Thus, immediate access

to Cash Collateral is essential to the Debtors’ ability to maximize value for the benefit of all

constituents.

I.       Interim Order and Final Hearing

                  44.        Pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2), the Debtors

request that the Court schedule a Final Hearing within approximately thirty-five (35) calendar days

of the commencement of the Chapter 11 Cases to consider approval of this Motion on a final basis.

                  45.        The urgent need to avoid immediate and irreparable harm to AmeriFirst’s

estates makes it imperative that AmeriFirst be authorized to access the DIP Loans and use Cash

Collateral pending the Final Hearing, in order to allow the Debtors to operate and administer these

Chapter 11 Cases on a postpetition basis. Without the ability to make draws under the DIP Facility

and use Cash Collateral, AmeriFirst would be unable to satisfy accruing postpetition obligations,

including payroll, and would not be able to conduct a value-maximizing Chapter 11 process, thus

causing irreparable harm to the AmeriFirst and its estates. Accordingly, the Debtors respectfully

request that, pending the Final Hearing, the Interim Order be approved and that the terms and

provisions of the Interim Order be implemented and be deemed binding and that, after the Final

Hearing, the Final Order be approved in all respects and the terms and provisions of the Final

Order be implemented and be deemed binding.

J.       Waiver of Bankruptcy Rule 6004(a) and 6004(h)

                  46.        To implement the foregoing successfully, the Debtors request that the Court

enter an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a)



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and that the Debtors have established cause to exclude such relief from the 14-day stay period

under Bankruptcy Rule 6004(h).

                                                VI. NOTICE

                  47.        The Debtors will provide notice of this Motion to: (a) the Office of the

United States Trustee, (b) the consolidated 30 largest unsecured creditors of the Debtors, (c) the

Internal Revenue Service, (d) all parties who have filed requests prior to the date of service for

notices under Rule 2002 of the Bankruptcy Rules, and (e) all parties known by a Debtor to hold or

assert a lien on any asset of a Debtor. As this Motion is seeking “first day” relief, within two

business days of the hearing on the Motion, the Debtors will serve copies of the Motion and any

order entered in respect to this Motion as required by Local Bankruptcy Rule 9013-1(m).

                                        VII. NO PRIOR REQUEST

                  48.        The Debtors have not made any prior request for the relief sought herein to

this Court or any other court.

                  WHEREFORE, the Debtors respectfully request entry of the Interim Order and,

after Final Hearing, the Final Order, granting the relief requested herein and such other relief as is

just and proper.




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 Dated: August 29, 2023                       PACHULSKI STANG ZIEHL & JONES LLP


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